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3 CENTRAY BR IRICT OF CHIFOT

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9 UNITED STATES DISTRICT COURT
10 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11 |1CH,O, INC., Case No. CV-13-8418 JAK (GJSx)
12 Plaintiff,
13 VERDICT

Vv.
14
MERAS ENGINEERING, INC.; Hon. John A. Kronstadt
15 |IHOUWELING’S NURSERIES
16 OXNARD, INC.; HNL HOLDINGS
LTD.; HOUWELING UTAH
17 |} OPERATIONS, INC.; and
- HOUWELING’S NURSERIES LTD.,
19 Defendants.
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VERDICT
Case No. CV-13-8418 JAK (GJSx)
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l VERDICT FORM
2 || When answering the following questions and filling out this Verdict Form, please
3 || follow the directions provided throughout the form. Your answer to each question
4 |;}must be unanimous. Some of the questions contain legal terms that are defined and
5 {explained in detail in the Jury Instructions. Please refer to the Jury Instructions if
6 |! you are unsure about the meaning or usage of any legal term that appears in the
7 || questions below.
8
9 || We, the jury, unanimously agree to the answers to the following questions and

10 | return them under the instructions of this Court as our verdict in this case.

i

12 FINDINGS ON INFRINGEMENT

13 ||A. Direct and Literal Infringement

14

15 L. Did CH,0 prove, by a preponderance of the evidence, that defendants

16 | Meras Engineering, Inc., Houweling’s Nurseries Oxnard, Inc.; HNL Holdings Ltd.;

17 |; Houweling Utah Operations, Inc.; and/or Houweling’s Nurseries Ltd. (collectively

18 | “defendants”) directly and literally infringed claims 1, 2, and/or 7 of U.S. Patent No.

19 || 6,767,470 (“the ’470 patent”)?

20

21 “YES” is a finding for CHO (plaintiff)

2 | “NO” is a finding for Meras and the Houweling’s entities (defendants)

23 4

24 : Independent Claim 1: Yes X_ No.

25 | Dependent Claim 2: Yes KX. No

26 t Dependent Claim 7: Yes K No

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|, VERDICT
I 1 Case No. CV-13-8418 JAK (GJSx)
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B. Induced Infringement

 

 

2. Did CH;0 prove, by a preponderance of the evidence, that Meras has
induced Houweling’s to infringe claims 1, 2, and/or 7 of the 470 patent?

|

i “YES” is a finding for CH,O (plaintiff)

| “NO” is a finding for Meras (defendant)

}

| Independent Claim 1: Yes KX _ No

| Dependent Claim 2: Yes X | No |

| Dependent Claim 7: Yes \ _ No.

iC. Willful Infringement

1 3. Did CH,0 prove, by a preponderance of the evidence, that the

! defendants’ infringement was willful?

: Yes % No

“YES” is a finding for CH2O (plaintiff)

i “NO” is a finding for Meras and the Houweling’s entities (defendants)

| VERDICT
' 2 Case No. CV-13-8418 JAK (GJSx)

 
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FINDINGS ON INVALIDITY DEFENSES
(The questions regarding invalidity should be answered regardless of your findings

with respect to infringement.)

 

 

! D. Enablement
| 4. Have Defendants proven, by clear and convincing evidence, that the

|| specification of the ‘470 Patent does not contain a description of the claimed

invention that is sufficiently full and clear to enable persons of ordinary skill in the

f i,
I field to make and use the invention?
Yes No XK

|
i Note the following change:

i “NO” is a finding for CH,O (plaintiff)
i “YES” is a finding for Meras and the Houweling’s entities (defendants)
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!

(P Written Description Requirement

5. Have Defendants proven, by clear and convincing evidence, that the

oe . ; i
| specification of the ‘470 Patent does not contain an adequate written description of
4

| the claimed invention?

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Yes No %

Note the following change:
j “NO” is a finding for CH,O (plaintiff)
“YES” is a finding for Meras and the Houweling’s entities (defendants)

| i
i VERDICT
l. 3 Case No. CV-13-8418 JAK (GJSx)

 
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FINDINGS ON DAMAGES
iIf you find that at least one of claims 1, 2, or 7 is infringed by Meras and/or

Houweling’s (answered “yes” to any part of questions | or 2), and if you also find

 

 

that any such infringed claim is also valid (answered “no” to questions 4 and 5),

‘then proceed to answer the remaining question.

by defendants?
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| 6. What amount of damages do you award to CH,O for the infringement
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You have now reached the end of the verdict form and should review it to ensure it
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: accurately reflects your unanimous determinations. The Presiding Juror should then
sign and date the verdict form in the spaces below and notify the court personnel

{that you have reached a verdict. The Presiding Juror should retain possession of the
it

verdict form and bring it when the jury is brought back into the courtroom.

VERDICT
4 Case No. CV-13-8418 JAK (GJSx),
}

 
